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                                     THE

                         MORTON FAMILY

     IRREVOCABLE TRUST AGREEMENT




                                                    PREPARED BY:

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September, 2004




                                      EXHIBIT
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                                    THE MORTON             FAMILY
                            IRREVOCABLE          TRUST AGREEMENT



       This Trust Agreement is made and entered into this 30" day of September, 2004, by
and between Jerry W. Morton, also known as Jerry Wayne Morton, Jay W. Morton and Jay
Morton, hereinafter referred to as “Settlor”, and Michael E. Krasnow, hereinafter referred to
as “Trustee.”

       WITNESSETH:

       WHEREAS,          the Settlor wishes to create an irrevocable trust (the “Trust”) consisting
                                                                                     this Trust;
of cash and such other assets as the Settlor or others may from time to time give to
and

       WHEREAS, the Trustee is willing to hold and administer said property and such
                                                                                         ns
other property as it may receive from time to time hereunder upon the terms and conditio
hereinafter set forth;

        NOW,     THEREFORE,         in consideration of the mutual      covenants of the parties as
contained herein and other valuable consideration, the parties agree as follows:

                                                ARTICLE I

        1.1 Funding of Trust. The Settlor hereby irrevocably transfers the sum of Twenty-
                                                                                              to
Five Dollars to the Trustee, the receipt and sufficiency of which are hereby acknowledged,
                                                                               of assets to this
hold in Trust. In addition, the Settlor and others may make further additions
                                                                                       amounts
Trust by lifetime gift, under a will or trust, or from any other source. Any
                                                                                  with regard to
inadvertently paid by the Settlor to any insurer as premiums or other payments
                                                                               been contributed
any life insurance policy owned by this Trust shall be deemed to have
                                                                            paid  by the Trustee
directly to this Trust by the Settlor and shall then be deemed to have been
                                                                              in the manner set
to the insurer. The Trustee agrees to hold and administer such additions
forth in this Trust.

         1.2 Name.         The   Trust herein    created    shall be known   as The   Morton   Family
 Irrevocable Trust.

                                                ARTICLE II

                                                                                             to all
         2.1 Right of Beneficiary to Withdraw Contributions to Trust. With respect
                                                                                   Settlor or any
 additions of cash or other property made to this Trust by lifetime gift from the
                                                                                     the rights to
 other person (referred to as “Additions”), the following beneficiaries shall have
 demand and receive distributions of principal from the Trust as set forth below:




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               (a)  The Settlor’s son, Ryan Taylor Morton, if living, Settlor’s spouse’s
daughter, Jennifer James, if living, and Settlor’s spousc’s son, Brian Thompson, if living,
shall each have the right for thirty (30) days to. withdraw from the principal of the Trust
during each year in which one or more Additions are made to the Trust, the lesser of (a) Five
Thousand Dollars ($5,000.00), or (b) such beneficiaries pro rata share of the full value of any
property transferred to the Trustee (and assuming that the Settlor and the Settlor’s spouse, if
any, will elect to split the Settlor’s gift if there is a provision in the Internal Revenue Code
(the “Code”) which permits such gift-splitting).

               (b) Notwithstanding the foregoing, however, the donor of any Addition to be
made to the Trust and to be subject to the withdrawal rights set forth above, may, by written
notice to the Trustee, at or prior to the time when the Addition is made to the Trust, increase,
exclude, or limit the monetary amount of the withdrawal right of any person, other than the
Settlor, having any such withdrawal right with regard to that Addition, effective as of the
date the Trustee receives such notice. For purposes of this Trust, the lapse of a withdrawal
right by any beneficiary shall not be considered a transfer of property to the Trust. Also, for
purposes of this Trust, an Addition to the Trust shall include the payment by any person
other than the Trustee of a premium on a policy of life insurance owned by the Trust.

              (c)    Whenever any Addition is made to the Trust that gives rise to a
withdrawal right, the Trustee shall give prompt notice of such Addition to those beneficiaries
with withdrawal rights. Any such beneficiary may exercise the withdrawal right granted
hereunder by delivering notice to the Trustee at any time on or before the thirtieth day after
having received notice of the Addition. If such beneficiary is under a legal disability, then
the notice shall be given to the beneficiary’s legal or natural guardian, who may make such
demand    on behalf of the beneficiary.      Any   adult beneficiary   or guardian   of a minor
beneficiary may waive any further notice upon communication of the same to the Trustee.

               (d)   Upon   timely receipt of notice requesting withdrawal,    the Trustee   shall
distribute out of the Trust the amount necessary to satisfy the withdrawal request, and for this
purpose the Trustee shall retain in the Trust sufficient transferable assets to satisfy any
outstanding and exercisable withdrawal rights. The Trustee shall be authorized in satisfying
any withdrawal request to distribute the principal or other property of the Trust, and the
Trustee shall be further authorized to borrow against the cash value of any insurance policy
to obtain cash for such distribution. In the event the Trust is comprised substantially of
insurance policies, then the Trustee shall be required to borrow against the cash values
thereof to satisfy the withdrawal rights. If the policies do not have sufficient cash value to
 make such distribution, the Trustee shall distribute the policies out in kind if so requested by
 the person exercising the withdrawal right.

                (e) The withdrawal right attributable to each Addition to this Trust shall lapse
 with respect to each beneficiary at the end of Thirty (30) days following the date upon which
 the beneficiary receives notice of the withdrawal right (unless the person having the
 withdrawal right sooner elects not to exercise that withdrawal right), and any such Addition,
 or part thereof, not requested to be withdrawn by the end of the thirty (30) day withdrawal


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period shall no longer be subject to the withdrawal right; provided, however, the maximum
amount which may lapse during any calendar year with respect to which any beneficiary has
a withdrawal right hereunder shall be the Maximum Lapse Protected Amount. On December
31 of each year, the total amount which may be withdrawn by any beneficiary who has a
power of withdrawal hereunder shall be reduced (but not below zero) by the difference, if
any, between (i) the Maximum Lapse Protected Amount less (ii) the amount of Trust
property over which that beneficiary had a power of withdrawal during such calendar year
which lapsed, except that this reduction in the amount which may be withdrawn by a
beneficiary shall not be effected if and to the extent that the result thereof would be to reduce
that beneficiary’s withdrawal right with respect to any Additions made to the Trust during
that calendar year over which that beneficiary has a power of withdrawal which has not
otherwise lapsed by reason of the expiration of the thirty (30) day withdrawal period as of
that December 31. Notwithstanding the above, if the law then in effect with regard to this
Trust at the expiration of the thirty (30) day period requires that the period during which the
beneficiary’s withdrawal right may be exercised to remain open indefinitely or for a period
which exceeds the time herein set forth in order to qualify any such lifetime gifts for the
federal gift tax annual exclusion and the Trust is not exempt from the application of that law
by grandfathering or otherwise, then the withdrawal period of the Trust shall be extended to
that length of time required to comply with that law.

                  (f) Each power of withdrawal given to any descendant of the Settlor which is
in effect at the death of the Settlor shall continue in effect after the death of the Settlor until it
is exercised or lapses as described above.

       2.2     Purpose_and    Construction.      These   withdrawal:powers     are provided   for the
purpose of causing any Additions made to this Trust to be gifts of a “present interest” for the
federal gift tax purposes. These withdrawal powers shall be construed so as to give effect to
such intention.

                                               ARTICLE HI

                             DISTRIBUTIONS AND BENEFICIARIES

        3.1   Use of Income    or Principal.    During the lifetime of Settlor and/or Settlor’s wife,
Nancy Morton, the Trustee may use any part or all of the net income or the principal of the
trust estate to purchase or pay premiums on insurance on the life of the Settlor, the life of
Settlor’s wife, or the joint lives of Settlor and Settlor’s wife. In connection therewith, the
Trustee may elect any mode of premium payment or settlement option in connection with
any such insurance. The Trustee shall also have the power to utilize any cash surrender
value or other accumulated reserve with respect to any policy for the payment of premiums
on the same or any other policy of insurance on the life of the Settlor, Settlor’s wife, or the
joint lives of Settlor and Settlor’s wife, whether by borrowing or otherwise. In all respects
the Trustee shall possess all incidents of ownership with respect to any policy of insurance
on the life of the Settlor, Settlor’s wife, or the joint lives of Settlor and Settlor’s wife,
including the right to borrow against any policy and to pay interest with respect to such


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borrowing, regardless of whether the purpose of any such loan is to pay premiums or to make
cash available for any other purpose.

        3.2   Proceeds of Insurance.   Following the deaths of both the Settlor and the Settlor’s
wife, the Trustee shall promptly collect the proceeds from any insurance policies on the life
of the Settlor, the Settlor’s wife, or the joint lives of the Settlor and Settlor’s wife, which may
then form a part of the principal of the Trust estate. Such proceeds, if any, together with any
accumulated income and other assets then held by the Trustee shall be administered
thereafter as is provided herein.

        3.3   Division of Trust Estate Into Shares.   Following the deaths of both the Settlor and
the Settlor’s wife, the Trustee shall divide the Trust estate into equal separate shares for the
benefit of Ryan Taylor Morton, Jennifer James, and Brian Thompson, or if any of said
individuals is deceased, then such individual’s share shall be held for the benefit of the
descendants of said individual, if any, in shares per stirpes. The person for whom a share is
created hereunder is sometimes referred to herein as the “primary beneficiary” of that share.

       3.4    Distributions of Income and Principal After the Division of the Trust Into Shares.

                (a)   Following the date upon which the Trustee has divided the Trust estate
into separate shares, the Trustee shall, following payment of all estate and inheritance taxes,
federal and state, by the estate or trust of Settlor or Settlor’s wife, whichever shall die last,
have the discretion to distribute all or any portion of the income and principal of each share
to or for the benefit of the primary beneficiary of that share, subject to Section 3.6 below, in
such amounts as the Trustee deems appropriate to provide for his, her, or their health
(including without limitation medical, dental, hospital and nursing expenses, and expenses of
being an invalid), education (including private, primary or secondary school, college and
professional education), maintenance and support in the manner of living to which he or she
is accustomed. Adult primary beneficiaries shall receive their share of this Trust as soon as
is administrative feasible, following payment of all estate and inheritance taxes, federal and
state, by the estate or trust of Settlor or Settlor’s wife, whichever shall die last, provided,
however, that if an adult primary beneficiary is under a disability, physically and/or mentally,
and not capable, in the Trustees discretion, to properly manage the funds available in such
primary beneficiary’s share of this Trust, then the Trustee may retain such share in Trust in
accordance with the provisions of Section 6.3.

                (b)   Each primary beneficiary shall also have a special power of appointment,
exercisable before the death of both the Settlor and Settlor’s wife, during the primary
beneficiary’s lifetime in a writing executed by him or her and delivered to the Trustee, or at
death in the will of the primary beneficiary, making specific reference to this special power
of appointment, to direct the Trustee to divide any part or all of the primary beneficiary’s
share among a group consisting of the descendants of the primary beneficiary, or the
descendants   of another of the primary beneficiaries, to be retained in trust or distributed out
of trust, in any manner permitted under Section 6.3.



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        3.5 Death of a Primary Beneficiary. Upon the death of a primary beneficiary prior to
the distribution of all of the assets of his or her share, to the extent that the special power of
appointment described in Section 3.4(b) above is not exercised, the Trustee shall divide the
primary beneficiary’s share into separate shares for the benefit of the following persons in
the following order:

                (i) First, for the surviving descendants of the deceased primary beneficiary,
        per stirpes, and if none, then

                (ii) for the surviving primary beneficiaries, or their surviving descendants, and
        if none, then

                        (a) one-half (1/2) to those persons who would have inherited personal
                property from the Settlor if the Settlor had died intestate at that time, not
                married,      and   domiciled   in the State of Oklahoma,    according   to the laws   of
                descent and distribution of the State of Oklahoma then in effect; and

                        (b)     one-half (1/2) to those persons who would have inherited personal
                property from the Settlor’s wife if she had died intestate at that time, not
                married, and domiciled in the State of Oklahoma, according to the laws of
                descent and distribution of the State of Oklahoma then in effect; provided,
                however, that notwithstanding the above, if Nancy Morton and the Settlor
                were not lawfully married to each other at the time of the earlier to occur of
                Nancy Morton’s death or the Settlor’s death, then all of said remaining assets
                shall be distributed in accordance with subsection (a) above.

       Each person for whom a share is created will be the primary beneficiary of that share.

       3.6   Distribution to Minor Beneficiaries.         The Trustee shall defer payment of any share
of the Trust principal or income vesting in and payable to any person or persons under age
eighteen (18) (hereinafter called "Minor") until the Minor reaches age eighteen (18), but the
Trustee, in the Trustee's discretion, may apply to the use of such Minor so much of the principal
or income thereof as the Trustee is permitted to apply to such Minor when such minor reaches
the age of eighteen (18). The Trustee may make payment of any principal or income applicable
to the use of the Minor: (a) by paying the same to a guardian or other person having the care or
control of the Minor, whose receipt shall be a full discharge for any such payment;              (b) by
paying it to a Custodian under the Uniform Gift to Minors Act for the Minor, whose receipt
shall be a full discharge for any such payment; or (c) by spending it in such manner for the
benefit of the Minor, as herein directed.

       3.7   General Distribution Provisions.        The following provisions shall apply to matters
described in this Article, notwithstanding anything else contained in this Article.

               (a) Following the division of the Trust into shares, each share set aside for a
descendant   of the Settlor shall constitute a separate trust and shall bear the name of the


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 person for whom it is created.       Each person for whom a share is created will be the primary
 beneficiary of that share.

                 (b)   In exercising its discretion to make   distributions, the Trustee shall first
 consider all other financial resources available to a beneficiary from other sources.

                 (c) After the Trust is divided into shares, the Trustee may make paymen
                                                                                         ts to a
 beneficiary out of his or her share without the need to make similar
                                                                      distributions to other
 beneficiaries out of their shares.

                (d) Consistent with the objective of reducing wealth transfer taxes, the Trustee
 shall have broad discretion in withholding distributions and providing the
                                                                               beneficiaries the
 use of trust assets, after taking into account all facts the Trustee shall deem
                                                                                        relevant,
 including, but not limited to, immediate and future income and transfer taxes.

                (e)    Notwithstanding anything to the contrary herein contained, the Trustee
 may, in its sole discretion, suspend, withhold, and/or limit any distributions
                                                                                   to any primary
 beneficiary who is a descendant of the Settlor or the Settlor’s wife, if and
                                                                                for so long as the
 Trustee, in its sole discretion, determines that the primary beneficiary suffers
                                                                                   or has suffered
 from chemical dependency upon alcohol or any illegal drug and has not
                                                                             been free from such
 dependency for a period of at least six (6) months.

                (f) Notwithstanding anything else contained herein, the Trustee shall not make
any distributions under this Article which would at the time of the distribut
                                                                                ion diminish in
any way the right of a beneficiary to receive a distribution from the
                                                                         Trust pursuant to the
exercise of his or her withdrawal right over Additions to this Trust within
                                                                             the limits set forth
in Article II.

                (g) It is the intent of the Settlor that the interest of a beneficiary hereunder
shall never become subject to the claims of any of such beneficiary’s creditors, or
                                                                                      any spouse
or divorced spouse of the beneficiary, or any other person to whom the beneficiary
                                                                                        owes any
liability. If in the opinion of the Trustee the beneficiary has any liability, either
                                                                                         fixed or
contingent, which could result in any person to whom such liability is or may
                                                                                become owing
ultimately taking or receiving in any manner any material portion of the benefici
                                                                                  ary’s interest
in the Trust (which for purposes of this Trust includes the interest of
                                                                         a beneficiary in any
distributions from the Trust which may be either mandatory           or discretionary, including
distributions of either income or principal), or if and to the extent that
                                                                           in the opinion of the
Trustee the existence of any such liability could prevent the beneficiary
                                                                                from personally
enjoying the beneficiary’s interest in the trust, other than upon a voluntary disclaimer,
                                                                                            or
release, or the exercise of a power of appointment by the beneficiary, then the Trustee
                                                                                        may in
its sole discretion and in fulfillment of the intent of the Settlor suspend,
                                                                             withhold, reduce, or
terminate said interest of the beneficiary in the Trust to the extent and
                                                                          for so long as is
necessary or appropriate to fulfill the Settlor’s intent.    Upon the death of any such
beneficiary, any interest of the beneficiary in the Trust which has
                                                                     been suspended, withheld,
reduced, or terminated shall be treated as otherwise provided for
                                                                    in the Trust for disposition


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 upon the beneficiary’s death.            The Trustee shall have no responsibility to the beneficiary for
 the Trustee’s exercise or failure to exercise its discretion to withhold distributions
                                                                                        under this
 Section.

                   (h)   It is the intent of the Settlor that distributions to a beneficiary, whether in
 liquidation or partial liquidation of any Trust or whether to be made currently, shall not be
 made if in the sole opinion of the Trustee the beneficiary might use those funds in an
 injudicious, unwise, imprudent, or wasteful manner.                The Trustee, in exercising its discretion
to make distributions, shall also take into consideration the demonstrated maturity, judgment,
character and financial responsibility of each beneficiary to whom a distribution may be
made. The opinion of the Trustee to withhold any such distributions shall be within the sole
discretion of the Trustee based on such facts and circumstances as the trustee deems
appropriate and relevant.

                   (i)   It is the desire and intent of the Settlor that all sums distributed to Ryan
Taylor Morton, if living, Jennifer James, if living, and Brian Thompson, if living, be
maintained by them as separate assets, not to be commingled with other marital assets. It is
Settlor’s further desire that Ryan Taylor Morton, if living, Jennifer James, if living, and
Brian Thompson, if living, establish trusts for the benefit of themselves and their children,
and that assets received as distributions from this Trust be placed therein.                   The Trustee is
directed, prior to making any distributions to Ryan Taylor Morton, Jennifer James, or Brian
Thompson, to advise them of the provisions of this Section, and the desires and intent of the
Settlor as expressed in this Section.

                                                   ARTICLE IV

                               OWNERSHIP OF INSURANCE CONTRACTS

          4.1   Qwnership of Insurance.           The Settlor shall not possess or own any of the rights,
powers,     interests, privileges, benefits,        and incidents    of ownership    of any kind that may
accrue on account of any insurance contracts composing part of the Trust estate.

          4.2   Payment of Premiums and Purchase of additional Insurance Policies.

                  (a)    The    Trustee    may,   but is not required to, purchase,      own    and pay life
insurance premiums on policies insuring the life or lives of any persons, including the Settlor
and the Settlor’s wife, and may exercise all rights of ownership of any policy to the extent of
the Trustee’s ownership interest; provided, that no Additions or other Trust assets shall be
used to pay any such premiums which would, as of the time of the payment, diminish in any
way the right of a beneficiary to exercise a withdrawal right over Additions to this Trust.

               (b) Ifthe Trust’s assets and/or Additions to the Trust are insufficient to pay
such premiums or other charges at any time, or if such funds are sufficient, but the Trustee
determines that they should not be used to pay such premiums or other charges, then the
Trustee shall notify the Settlor and the beneficiaries of the Trust of such insufficiency.               The


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 Settlor and the beneficiaries or any of them may furnish the necessary funds for the payment
 of the premiums or other charges, but they shall not be obligated to do so. Any funds
 furnished as the result of said notice shall be treated as a loan to the Trust, unless directed
 otherwise by the person or persons furnishing the funds.

                   (c) If at any time the assets of the Trust estate are insufficient to pay the
 premiums       or other charges on the contracts of insurance, or if at any time the Trustee
 determines that it would be inadvisable to use Trust assets for the payment of premiums or
 other charges on contracts of insurance, the Trustee shall not be required to pay the
 premiums or other charges, and the Trustee shall not be liable for its failure to do so.
 However, in the event of such insufficiency the Trustee may in its discretion (i) pay the
 premiums or other charges by borrowing on the security of the principal of the Trust or any
 part thereof or on any of the insurance contracts; (ii) pay the premiums by applying the
 dividends on any of the contracts; (iii) surrender any of the contracts for their cash surrender
 values; or (iv) convert any contract on which premiums have not been paid due to
 insufficient funds into a paid-up contract pursuant to the terms of such contract.

         4.3    Collection of Insurance Proceeds.       Upon the death of Settlor and Settlor’s wife,
the Trustee shall, with respect to any and all contracts under which the Trustee shall be the
beneficiary, collect the full proceeds thereof, less so much of said proceeds as shall be
required to pay or provide for the payment of any liabilities or obligations to the insurer in
respect of said policies; provided however, that the Trustee need not incur any expense in
 enforcing payment which it believes may be due it unless it hold funds hereunder to cover
such expenses.      The Trustee is authorized to compromise and adjust claims arising out of the
insurance contracts or any of them upon such terms and conditions as it may deem just, and
the decision of the Trustee shall be binding upon all persons interested therein. The Trustee
shall be authorized to give the insurance company and each of them all the necessary and
proper releases and acquittances in full discharge of their liabilities under such contracts,
The proceeds and benefits of such insurance contracts collected by the Trustee shall be added
to and become a part of the principal of the Trust estate.

        4.4    Liability of Insurance Company.      Any insurance company or other party shall be
completely protected in dealing with the Trustee, and the receipt of the Trustee for any
payment made to it or the assets added to the principal of this Trust shall be a complete
acquittance and discharge to the extent specified in such receipt of the Trustee, and no
insurance company or other party making any payment or delivering or transferring any
assets to the Trustee shall be required to see to the use or application of any such payment or
asscts hereunder.

                                             ARTICLE V

                                              TRUSTEE

        5.1    Appointment of Trustee.    Michael E. Krasnow is hereby appointed as Trustee of this
Trust, and all shares of this Trust as created hereunder.



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          9.2   Successor Trustee.   If the Trustee named in Paragraph 5.1 shoul
  serve, or resign as the Trustee, then, and in that                               d die, be unable to
                                                      event, Bill Moore shall become and serve as
  successor Trustee hereunder. If Bill Moore shoul                                                   the
                                                       d die, be unable to serve, or resign as Trustee,
  then, and in that event, Neal Martin shall beco
                                                     me and serve as the alternate successor Trustee
  hereunder.

          5.3. Additional Trustees. With respect to this Trust and all trust shares
  hereunder, the Trustee at any time serving may                                    created
                                                 designate in writing one or more Second
  Alternate Successor or Additional Trustee or Trustees to serve
                                                                     with or following the then
 current Trustee on such terms and conditions as the
                                                        then current Trustee deems appropriate,
 so long as the successor or additional trustee is an
                                                      Independent Trustee, and if the successor
 is a corporation, it shall be a trust company or national banki
                                                                 ng associatio
                                                                        n with trust powers
 which shall have been qualified to engage in the trust
                                                        business for at least five (5) years
 immed iately prior to such appointment and which
                                                     shall have capital of at least Twenty
 Million Dollars ($20,000,000.00) and which no
                                               beneficiary hereof owns at the time of such
 appointment, direct   ly or indirectly, in excess of five percent (5%) of the
 such trust company or national banking associatio
                                                                               value of the stock of
                                                   n.       Notice of any such writt
                                                                                   en designation
 shall be given to all adult beneficiaries of the Trust
                                                        in order to become effective, and may be
 revoked or amended at any time in a like manne
                                                r, provided, however, that the Trustee named
 in Paragraph    2.01 above may amend this Trust at any time and change the Successor Trustee
 or designate an Alternate Successor or Additional
                                                    Trustees without any such Notice.

        5.4 Vacancy In Office Of Trustee.       In the event of a vacancy in
 for any reason, then and in that event a majority                           the office of Trustee
                                                    in interest of the adult beneficiaries entitled
 to receive distributions of income from the
                                                   Trust, regardless of whether such income
 distributions are absolute or in the discretion of the
                                                        Trustee, may appoint a new Alternate
 Successor Trustee, so long as the successor is an Independent
                                                                  Trustee, and if the successor is
a corporation, the corporate trustee shall be a trust comp
                                                           any or a national banking association
with trust powers which shall have been qualif
                                                  ied to engage in the trust business for at least
five (5) years immediatel   y prior to such appointment and which shall have
Twenty Million Dollars ($20,000,000.00) and                                    capital of at least
                                                 which no beneficiary hereof owns at the time
of such appointment, directly or indirectly, in exces
                                                      s of five percent (5%) of the value of the
stock of such trust company or national banking assoc
                                                      iation.
        5.5 Powers of Successor Trustee, The Succe
                                                       ssor Trustee, the Alternate Successor
Trustee, an Additional Trustee, a Second Alternate
                                                   Successor Trustee, or a corporate Trustee,
shall have, from and after appointment or succession
                                                        to office hereunder and without any
assignment or action by any person, all the title,
                                                     rights, interests and powers, including
discretionary   rights and powers, which are by the provisions of
                                                                  this Agreement granted to and
vested in the predecessor Trustee.

       5.6 Trustee Defined. The term Trustee as used
                                                      herein, shall include the Trustee, the
Successor Trustee, the Alternate Successor
                                            or Additional Trustee, the Second Alternate



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  Trustee,     and     a Corporate     Trustee,     as required          for     interpretation,    depending    upon    the
  circumstances at the time such interpretation is
                                                   required.
          5.7 Independent Trustee. An Independent Trust
                                                            ee shall mean a Trustee who is not a
  beneficiary hereunder, is not the spouse of a beneficiar
                                                           y hereunder, and who is not related or
  subordinate        to any beneficiary     hereunder           within   the meaning          of Section    672(c)   of the
  Internal     Revenue     Code,     and   who     does    not have            any   legal   obligation    to support   any
  beneficiary of this Trust.

         5.8 Trustee Incapacity. For all purposes under
                                                            this Trust, any Trustee who becomes
 incapacitated shall no longer serve as a Trust
                                                    ee, except that if the incapacity is of a
 temporary duration which will not materially and
                                                        adversely affect the Trust or any of its
 beneficiaries, then the Trustee may continue to serve.
                                                           Further, a Trustee shall be considered
 incapacitated and unable to serve (i) if a Court of
                                                      competent jurisdiction determines that the
 Trustee is incom      petent, or (ii) if by reason of illness or mental or
                                                                            physical
                                                                                 disability the
 Trustee is unable to fully and competently manag
                                                  e the business and affairs of the Trust, and
 the Trustee’s inability to do so is likely to continue,
                                                          and these determinations are made by
 two licensed physicians, in writing. So long as he or
                                                         she is acting in good faith, a physician
 who makes such determination shall not have any
                                                          liability to any person, including the
 Settlor, and any successor-in-interest of the Settlor, as
                                                             a result thereof, and said physicians
 shall be indem nified by the Trust from and against any and
                                                                    all losses, costs, damages,
 expenses (including attorney’s fees), liabilities and
                                                       obligations incurred or suffered by said
 physicians as a result of a claim being made or threa
                                                       tened against said physicians as a result
 of him or her having made the determinations described
                                                        herein.
         5.9    Trustee Indemnification.          In any threatened, pending, or conte
                                                                           mplated action, suit,
 or proceeding to which the Trustee or former Trustee
                                                       was or is a party or is threatened to be
 made a party by reason of the fact that he is or
                                                    was a Trustee hereunder, the Trust shall
 indemnify that Trustee or former Trustee against expen
                                                        ses, judgments, settlement payments,
 and other amounts reasonably and actually paid by the
                                                       Trustee or former Trustee, including
attorney fees, so long as that Trustee or former Trustee acted in good
                                                                         faith and in a manner that
the Trustee or former Trustee reasonably believed to
                                                       be in the best interests of the beneficiaries
of the Trust taken as a whole.


                                                   ARTICLE VI

                                     GENERAL TRUST PROVISIONS

        6.1    Scope of this Articl
                                e. The provisions of this Article are applicable to all shares
the Trust created hereunder, except as otherwise                                               of
                                                 specifically provided for herein.

        6.2     Maximum      Duration of Trusts.           Notwithstanding any other provi
herein, each Trust or share hereof created pursu                                   sion contained
                                                     ant to the provisions hereof, if not sooner
terminated, shall terminate not more than twenty-one
                                                           (21) years after the death of the last
survivor of the Settlor, the Settlor’s wife, and the
                                                      descendants of the Settlor and the Settlor’s


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  wife living as of the date of the Settlor’s death, and
                                                           upon the expiration of such period each
  Trust shall terminate and the assets thereof shal]
                                                         be distributed to the primary beneficiary
  thereof.

              6.3        Distributions.     Notwithstandin § any provision           in this
                                                                                 Trust to the contrary,
  distributions of income or principal to or for the benef
                                                           it of a beneficiary, within the standards set
  forth in this Trust, may be made by the Trustee in its
                                                           discretion as follows:

                          (a) directly to or for the benefit of the beneficiary;

                         (b) to a legal guardian of the beneficiary;

                         (c)    to a parent or natural guardian or person having
                                                                                 custody of the beneficiary
  for the benefit of the beneficiary without the inter
                                                       vention                       of a legal guardian    or other
  representative;

                         (d) to an account for the beneficiary with a bank, broke
                                                                                  rage          dealer, mutual fund,
 or other financial institution; or


                         (e)    to a custodian appointed by the Trustee to hold
                                                                                said distribution for the
 benefit of a minor beneficiary under the Uniform Trans
                                                                      fers to Minors Act (or similar statute) of
 any state.

          During the disability (including minority) of any benefi
                                                                     ciary, the Trustee may, in its
 discretion, make distributions of assets (including final
                                                           distributions) to or for the benefit of the
 beneficiary        in    accordance      with   the   foregoing   provisions   or     may
                                                                           refrain from making
 distributions and may continue to hold the assets
                                                   in trust for the beneficiary and make and/or
 Preserve any or all future payments and distribution
                                                         s for the use and benefit of the beneficiary
 until his or her disability is removed. The Trustee
                                                       shall have no responsibility to the beneficiary
 for the Trustee’s exercise or failure to exercise its
                                                       discretion to withhold distributions under this
 Section.

         6.4 Accountings. After the death of the Settlor,
                                                          or Settlor’s wife, which ever shall die
last, if requested to do so by a primary beneficiar
                                                       y or by the guardian of any primary
beneficiary, the   Trustee shall render an account of receipts and disbu
                                                                           rsements and a statement
of assets at least annually to each such primary benef
                                                       iciary or guardian.
         6.5 Division of Trust Assets. At such time as the
                                                           Trustee is required       to make complete
or partial distribution of Trust assets, or to divid
                                                     e the Trust into shares, the Trustee is authorized
to distribute or divide the Trust assets in kind
                                                    or in cash, or partly in kind and partly in cash,
undivided interests                                                                                   in
                               or otherwise, and the Trustee is authorized to
                                                                              place
                                                                               values on the separate
Trust assets and use such values as the basis for
                                                        distribution. The power of the Trustee to
convert Trust assets into cash or other assets
                                                     shall not terminate at the time required for
distribution, but shall continue for a reasonable
                                                  time thereafter to assist the Trustee in making an
orderly distribution of the assets comprising the Trust.


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           6.6 Allocation of Tax Deductions. The Trustee is authorized
                                                                       to allocate and apportion
  the state and federal income tax deductions for depletion
                                                            and depreciation (and for any other
  apportionable tax deductions) to a Trust or share or to the
                                                              income distributee or distributees
  thereof, to the extent such allocations are not inconsistent
                                                               with the Code.                                  In allocating or
  apportioning such tax deduction or in designating the
                                                        source of any income                                       distributed or
  accumulated,           the Trustee may take into consideration the respective
                                                                                income                              tax benefits
  available         therefrom    to    the   distributee    or   distributees   and   to   the     Trust,   from     information
  furnished or know to the Trustee.

              6.7      Waiver of Conflicts of Interest.               The Settlor recognizes that a Truste
 exercise of the Trustee’s powers hereunder may have                                          e in the
                                                                 conflicting fiduciary and individual
 interests from time to time. The Settlor understands,
                                                              recognizes and waives such actual and
 potential conflicts of interest and directs that so long
                                                           as the Trustee acts in good faith, any such
 conflicts of interest shall not be a basis for any action or
                                                              claim against the Trustee.

                                                           ARTICLE VII

                                                   POWERS OF TRUSTEE

        The Trustee or any successor or alternate successor Truste
                                                                   e shall have the following
 powers, all of which           shall be exercised in a fiduciary capacity:

         7.1        Investment in Insurance Contracts.                To invest in life insurance contracts upon the
 lives of Settlor, Settlor’s spouse, and the joint lives of
                                                            the Settlor and Settlor’s wife.

         7.2        Wasting Assets.          To retain or to acquire wasting assets.             The Trustee
                                                                                      shall have no
duty to sell wasting assets or to apportion any of the income there
                                                                    from (such as lease bonuses or
any depletable portion with respect to income from such
                                                            assets) to principal, but the Trustee
may transfer income from such wasting assets to principal
                                                          in such amounts as the Trustee, in the
Trustee's discretion, may determine from time to time.

          7.3 Unproductive Assets. To retain or to sell, in the Truste
                                                                       e's discretion, unproductive
assets. The Trustee shall have no duty to apportion any princi
                                                                 pal to income, but may make an
equitable apportionment to income, if in the Trustee's discre
                                                               tion, such is necessary to prevent
injustice.

        7.4         Borrowing.        To borrow money from others or from a Trustee of the trust
mortgage or pledge any of the trust assets for that purpose                                 and to
                                                             even though the term of the loan may
extend beyond the duration of the trust. To renew existi
                                                          ng loans or to refinance debts.

        7.5         Selling.    To sell and convey any of the trust assets or any
                                                                                  interest therein, or to
exchange the same for other property, for such price
                                                         or prices and upon such terms as the
Trustee, in the Trustee's discretion, may deem advisable
                                                         for the best interest of the Trust and the



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  beneficiaries hereunder, and to execute and deliver any deeds, receipts
                                                                          , releases, contracts or
  other instruments necessary in connection therewith.

          7.6    Lending.       To   lend money     to any person   or persons,   including   partnerships,
  fiduciaries and corporations, upon such terms and with such
                                                                    security as the Trustee, in the
  Trustee's discretion, may deem advisable for the best interest of
                                                                     the trusts and the beneficiaries
  hereunder.

         7.7    Fiduciary Standard.       To act freely under all or any of the powers given to the
 Trustee in all matters concerning the Trust herein created, after
                                                                    forming a judgment based upon
 all the circumstances of any particular situation as to the wisest and
                                                                           best course to pursue in the
 best interest of the Trust and the beneficiaries hereunder, without
                                                                        the necessity of obtaining the
 consent or permission of any person interested herein or of any
                                                                     court, and notwithstanding that
 the Trustee may also be acting as trustee of other trusts, or
                                                                      as agent for other persons or
 corporations interested in the same matters; provided, however,
                                                                       that the Trustee shall exercise
 such powers at all times in a fiduciary capacity primarily in the best
                                                                        interest of the beneficiaries
 hereunder. No Trustee shall deal with any person with respect to any
                                                                          of the trust assets for less
 than an adequate consideration in money or money's worth.

         7.8    Source of Distribution.     To designate the source of any distribution, as between
 principal and income.       To allocate different classes of income to different beneficiaries,
                                                                                                 in equal
 or varied proportions.      To specify the amount of each class of income distributed and to
                                                                                              whom
 so distributed.

        7.9 Classification of Receipts and Disbursements.            To determine, in the absence
 specific instructions herein, what constitutes principal and income                          of
                                                                     and to determine whether a
distribution or disbursement should be charged to principal or
                                                                      income.    In making           such
determinations, the Trustee shall follow generally accepted trust
                                                                  accounting principles.

        7.10    Registration of Property.    To register any trust assets in the name of the Trusteeor
the Trustee's nominee, or to hold it unregistered or in such other form
                                                                         that the title shall pass by
delivery, but without thereby increasing or decreasing the Trustee's liabilit
                                                                              y as Trustee.
        7.11    Additional     Statutory Powers.     To enjoy all of the powers provided by and to
administer the trusts herein created in accordance with the
                                                            laws of the State of Oklahoma.

                                              ARTICLE VIII

                        ADDITIONAL ADMINISTRATIVE PROVISIONS

        8.1 No Accounting to Court. The Trustee shall not be required to accoun
                                                                                  t to any court
for the administration of the Trust, but shall furnish periodic reports
                                                                        of the administration to
those beneficiaries entitled to receive distributions of income from
                                                                        the Trust regardless of
whether  such income distributions are absolute or in the discretion of
                                                                        the Trustee.



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          8.2 Reliance by Third Parties on Trustee's Authority.
                                                                      No person, firm or corporation
  dealing with the Trustee with reference to any of the
                                                           Trust assets, if acting in good faith, shall
  be required to ascertain the authority of the Trustee, nor
                                                              see to the performance of the Trustee's
  duties, nor be responsible in any way for the proper appli
                                                                cation of funds or properties paid or
  delivered to the Trustee for the account of the Trust, but, if acting
                                                                        in good faith, such person,
  firm or corporation may deal with the Trustee as
                                                       though the Trustee were the unconditional
  owner of the Trust assets.

          8.3. Distribution on Cash Basis. Except as otherwise
                                                                   provided herein, income for the
  purposes of making distributions shall be on a cash
                                                       basis, and, when any beneficiary receiving
  income from the Trust shall die, any income that is
                                                      accrued or undistributed shall belong to, and
 be paid to, the next succeeding income beneficiary or
                                                             beneficiaries; provided that if income
 required to be distributed (for a fiscal year of the Trust closed
                                                                   prior to such beneficiary's death)
 from a Trust has not been distributed to the deceased
                                                            beneficiary to who it is required to be
 distributed,      such income shall be distributed to such beneficiary's
                                                                          estate.

            8.4    Spendthrift Trusts Created.     No interest of any beneficiary of the
                                                                                      Trust created
 herein, either in income or in principal, shall be subject
                                                            to pledge, assignment, sale or transfer,
 in any manner, nor shall any beneficiary have power
                                                         in any manner to anticipate, charge or
 encumber his or her interest either in income or
                                                    in principal, nor shall such interest of any
 beneficiary be liable or subject in any manner while
                                                       in the possession of the Trustee, for the
 debts, contracts, liabilities, engagements or torts
                                                     of such beneficiary.           Provided,
                                                                                   however, that
 nothing contained herein shall prevent a Trust beneficiary
                                                            from assigning all or any portion of
 his or her right to income in the Trust created for such
                                                             beneficiary, to or for the benefit of the
 issue of such beneficiary or to the spouse of the issue of such
                                                                  beneficiary.
        8.5 Savings Clause. In the event any clause, provision
                                                                or provisions of this Trust prove
to be adjudged invalid for any reason, the Settlor direct
                                                           s that such invalid or void clause,
provision or provis      ions, shall not affect the whole    of this instrument, but the balance       of the
provisions hereof shall remain          operative and shall be carried into effect insofar as
possible.                                                                                     legally


                                                 ARTICLE IX

         9.1 Purchase of Assets. After the death of Settlor
                                                                 or the Settlor's wife, which ever shall
last occur, if there are not sufficient liquid assets in
                                                         the estate of the deceased, or in a revocable
trust of the deceased, to pay all federal or state inheritance,
                                                                 estate or succession taxes, the
Trustee may purchase assets from the said estate or revoc
                                                            able trust at a then current market
value, to allow the said estate or revocable trust, as the
                                                            case may be, to pay the total estate,
inheritance and succession taxes, federal or state, payab
                                                          le by reason of the death of Settlor or
Settlor's spouse, as may be applicable.

        9.2       Amendment    and Revocation.    This Trust shall be and is irrevocable.
shall not have the right to alter, amend, revoke or                                             The   Settlor
                                                    terminate this Trust.



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         9.3   Compensation of the Trustee.      The Trustee shall be reimbursed for expenses
 incurred in the management of the Trust and its assets hereu
                                                               nder and the Trustee shall receive
 reasonable and customary compensation for its services. Such
                                                                  services and compensation shall
 be chargeable first to income and second to principal.
                                                          However, compensation of the Trustee
 based on the principal distribution and any unusual expens
                                                            es, shall be apportioned to principal,
 the decision of the Trustee as to what constitutes unusual expenses
                                                                     to be conclusive.
         9.4 Change in Situs of the Trust. Recognizing that the needs
                                                                       and family circumstances
 of the Trust beneficiaries may change or vary after the deaths
                                                                of both the Settlor and Settlor’s
 wife, and desiri    ng to grant said beneficiaries maximum flexibility in the
                                                                               administrati on of the
 Trust property for their benefit, the Settlor expressly authorizes
                                                                      the beneficiaries of this Trust,
 who are of full age and legal capacity and acting by unanimous
                                                                     vote, at any time following the
 deaths of both the Settlor and Settlor’s wife, to change the
                                                                 situs of this Trust for any reason
 deemed       sufficient by them,   including, but not limited to, ease of administrati
                                                                                        on,       adverse tax
 treatment of the Trust in its present situs or convenience of
                                                               the beneficiaries.
         If such beneficiaries determine that a change in situs is necess
                                                                          ary or desirable, they shall
 so inform the then present Trustee by an instrument
                                                              in writing executed by all of such
 beneficiaries who are of full age and legal capacity.

          The actions taken by the beneficiaries pursuant to the
                                                                 provisions of this Section shall be
 final and binding on all persons interested and shall not be subjec
                                                                         t to judicial review.
         9.5 Contest.   If any beneficiary of this Trust shall in any manner, direct
indirectly, (i) attempt to contest or oppose the validity                            ly or
                                                          of this Trust Agreement, or (ii)
attemp t to contest or oppose the distribution of income and/or
                                                                  principal as herein provided
for, or (iii) commence or prosecute any legal proceedings
                                                             to set aside, alter or modify this
Trust Agreement, or (iv) commence or prosecute any
                                                       legal proceedings to set aside, alter or
modify the distribution of income and/or principal as herein
                                                             provided for, then and in any
such event,      such beneficiary shall forfeit his or her share of the
                                                                        Trust Fund, and shall be
deemed, for all purposes hereunder, to have predeceased Settlor
                                                                .

        9.6     Governing Law.      This Trust is created under, is governed by, and is to be constr
                                                                                                     ued
and administered according to the laws of the State of Oklahoma;
                                                                           provided, however,
                                                                                       that if the
situs of this Trust shall change to another jurisdiction,
                                                          the laws of the new situs of the Trust
shall thereafter govern the construction and administration
                                                                  of this trust
       IN WITNESS WHEREOF, the Settlor has executed this The
                                                                                       on Family Irrevocable
Trust Agreement the day and year first above set forth.
                                                                              / i
                                                                                  Id




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 STATE OF OKLAHOMA                 )
                                   ) SS
 COUNTY OF OKLAHOMA                )

        The foregoing instrument was acknowledged before me
                                                            this 30th day of September,
2004, by Jerry W. Morton.


                                                  t     ria
                                                  Notary Public
                                                                G4 den
                                                                     sa)
My Commission Expires:

  __\\aalacot
Commission No.:
          OS00(A\>


                                     ACCEPTANCE

        The undersigned hereby accept the terms and condit
                                                           ions expressed in the foregoing
Trust Agreement.

      Executed this 30" day of September, 2004.



                                                  wid t ay
                                                  Michael fl Krasnow        Z     ¥

                                                        “Trustee”




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